                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA,                                  Case No. 10-cr-210-pp

                    Plaintiff,

v.

CORNELIUS BLAIR,

                  Defendant.
______________________________________________________________________________

  ORDER DENYING DEFENDANT’S MOTION FOR MODIFICATION AND/OR
   REDUCTION OF SENTENCE PURSUANT TO 18 U.S.C. §3582(c)(2) AND
               AMENDMENT 782 OF U.S.S.G. (DKT. NO. 354)
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      In February 2011, the defendant pled guilty to conspiracy to distribute

heroin, resulting in death. On July 27, 2011, Judge Clevert calculated that the

defendant had a total offense level of 40 and a criminal history category of III,

which resulted in a sentencing range of 360 months to life. The judge gave the

defendant a departure for substantial assistance, and sentenced him below

both the guideline range and the mandatory minimum—to a term of 180

months in prison.

      On November 1, 2014, Amendment 782 to the Sentencing Guidelines

became effective. This amendment lowered most drug offense levels by 2. The

Sentencing Commission made this reduction retroactive to any defendant

who’d been sentenced before the November 1, 2014 effective date.

      On January 14, 2015, the court received a motion from the defendant,

asking the court to apply the 2-level, Amendment 782 reduction. Dkt. No. 297.


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The Federal Defender—who had been appointed to review all Amendment 782

motions, and to represent anyone who looked like they might qualify for the

reduction—reviewed the defendant’s case, determined that it would not be

filing anything on his behalf, and filed a letter informing the court of its

decision. Dkt. No. 299. The Federal Defender filed these letters in any case in

which it appeared to the Federal Defender that the defendant did not meet the

requirements for the 2-level reduction.

       On March 12, 2015, the U.S. Attorney’s Office responded to the

defendant’s request for the reduction. Dkt. No. 305. The prosecutor pointed out

that the defendant was charged with—and pled guilty to—conspiring to

distribute heroin, from which death and bodily injury resulted, in violation of

21 U.S.C. §841(b)(1)(A). At the time the defendant was sentenced, the base

offense level for that crime was 38, under §2D1.1(a)(2) of the Sentencing

Guidelines. The government pointed out that Amendment 782 reduced the

offense levels for the drug quantity tables in U.S.S.G. §2D1.1(c) only. It did not

change the level 38 offense level for a heroin offense involving death or bodily

injury—indeed, today (over six years after the defendant was sentenced), the

offense level for that crime remains 38. For this reason, the defendant did not

(and does not) qualify for the 2-level reduction under Amendment 782. For that

reason, the court denied the defendant’s motion on July 20, 2015. Dkt. No.

312.

       Two and a half years later, on December 1, 2017, the court received this

current motion from the defendant. Dkt. No. 354. Despite the fact that the


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defendant already has asked the court to grant him an Amendment 782

reduction and the court has denied that request, the defendant again asks for

the same reduction. This time, he adds in the facts that he has been involved

in several programs while in custody, and has been involved in “many other

constructive activities that are conducive to re-entry.” Id. at 2. He asserts that

he qualifies for a 2-level reduction under Amendment 782, and also asks the

court to “recognize the Defendant’s voluntary efforts to rehabilitate, so that he

may one day reenter his community and be a productive member of society

that he now knows he can and must be.” Id.

      Contrary to what the defendant states in his most recent motion, he does

not qualify for the Amendment 782 reduction, which is why the court denied it

the last time he asked. Nor can the court reduce the sentence that Judge

Clevert imposed to recognize any rehabilitation the defendant might have

engaged in. Rule 35 of the Federal Rules of Criminal Procedure allows a court

to correct or reduce a sentence under two circumstances only. First, within

fourteen days of sentencing, a court may correct any math or technical errors

in a sentence. The defendant’s fourteen days have long passed. Second a court

may reduce a defendant’s sentence if, within one year of sentencing, the

government files a motion asking the court to reduce the defendant’s sentence

for cooperation. That one-year deadline also has long passed, and the

government has not filed such a motion.

      There is no basis in the law for the court to reduce the defendant’s

sentence. The court is pleased to hear that the defendant is being productive


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and working to improve himself and his life while he is in custody; that will

benefit him when the BOP determines whether to grant him good-time credit

against his sentence. But the law does not allow the court to reduce the

defendant’s sentence on that basis.

      The court DENIES the defendant’s motion to reduce his sentence under

Amendment 782. Dkt. No. 354.

      Dated in Milwaukee, Wisconsin this 6th day of December, 2017.

                               BY THE COURT:



                               ________________________________________
                               HON. PAMELA PEPPER
                               United States District Judge




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